

Matter of Kelly v Wachowiak (2017 NY Slip Op 04736)





Matter of Kelly v Wachowiak


2017 NY Slip Op 04736


Decided on June 9, 2017


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on June 9, 2017
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: SMITH, J.P., CENTRA, PERADOTTO, LINDLEY, AND NEMOYER, JJ.


847 CAF 15-01347

[*1]IN THE MATTER OF WILLIAM W. KELLY, III, PETITIONER-RESPONDENT,
vMELANIE WACHOWIAK, RESPONDENT-APPELLANT. -IN THE MATTER OF MELANIE WACHOWIAK, PETITIONER-APPELLANT, VWILLIAM W. KELLY, III, RESPONDENT-RESPONDENT. (APPEAL NO. 1.) 






DENIS A. KITCHEN, JR., WILLIAMSVILLE, FOR RESPONDENT-APPELLANT AND PETITIONER-APPELLANT.
VENZON LAW FIRM PC, BUFFALO (CATHARINE M. VENZON OF COUNSEL), FOR PETITIONER-RESPONDENT AND RESPONDENT-RESPONDENT.
GIOVANNI GENOVESE, ATTORNEY FOR THE CHILDREN, BUFFALO.


	Appeal from an order of the Family Court, Erie County (Kevin M. Carter, J.), entered July 7, 2015 in proceedings pursuant to Family Court Act article 6. The order, inter alia, granted sole custody of the subject children to William W. Kelly, III. 
It is hereby ORDERED that said appeal is unanimously dismissed without costs (see Matter of Tristyn R. [Jacqueline Z.] [appeal No. 2], 144 AD3d 1611, 1612).
Entered: June 9, 2017
Frances E. Cafarell
Clerk of the Court








